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UNITED STATES DISTRLCT COURT

t`or the

 

I)islrict of Utnli

 

 

 

FilCHAFiD MESS|NEO

!’fnrnt§[?(.d
v. Civil Aeiion No. 2:17'€""01225 'EIF
DEBB|E KEMP, in her individual capacity; ROLLlN
COOK, in his individual capacity; THOMAS
PATTEHSON. in his individual capacity; BF|ENT
WlECHMAN_ in his individual capacity; LONDON

STHOMBERG, in his individual capacity; J|M

"H!'l!"iRPl=Ti-I_in'hlo'ln lt dlel‘r\ahnr\lt\l":arrrl'l"n"\l'-'VF¥'1' '
. v em im.'r’.\')

vvvvv\q./VVVV\-\.#v

SUMMONS lN A CIVIL ACTION

T()! (De,¢'¢'ndmr.' '.\' move and address

DEBB|E KEMP. 14425 So. Bitterbrush Lane, Draper, UT 84020

A lawsuit has been filed against you.

Within 2! days after service ot`this summons on you (not counting the day you received it) - or 60 days it`you
are the Unitcd States or a United States agency. or an officer or employee ofthe Uniled States described in Fed. R. Civ.
P. 12 (a)(Z) or (3] ~_ you must serve on the plaintiff`an answer to the attached complaint or a motion under Rule 12 ot`
the Federal Rules ot`Civi| Proeedure. The answer or motion must be served on the plaintiff or plaintiffs attomey.
whose name and address are:

David O. Drake. 6905 Soulh 1300 East, # 248. Midvale. UT 84047

|f`you !`ail to respond.judgment by default will be entered against you for the relief demanded in the eontplaint.
You also must file your answer or motion with the eourt.

D. Mat‘l< Jones
CLERK OF COURT

  

Date: _03)_"1_21'_2(_)_1$ ____ _

 

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Civi[ Ac!ion N0_2:1 7-cv-01225

PROOF OF SERVICE
(Tliis section should nor befi!ed with fire court unless required by Fer!. R. C`r‘v. P. 4 (I))

ThiS SttmmOHS for maine qurfi\'r`dnof and rifle {frwy} peg/f ¢E M/D

was received by me on (dmc) _/:H_A:/\/_Z_?__LZDZ&__ .

lB/I personally served the summons on the individual at (ph.-ce; ____'5` § '7£ N______SE‘_}'_}{: ___ _
T@*‘D»'i/J__ _PM;:,-___§Ma_.)aa>sa_ _ §¢¢Q €£‘L>:_ fm se fL/iz_&'_’f,_z¢>_a>__

EI l left the summons at the individual`s residence or usual place of abode with mower

. a person ofsuitab|e age and discretion who resides there,

on rdare; , and mailed a copy to the individual`s last known address; or

g l SCt‘de the StlmmDnS On moore ofi`mi't'\v'a‘rro!) . \th is

 

designated by law to accept service of process on behalf of maine ryargrmi':aimm

 

on rdare) : or
ij l returned the summons unexecuted because
ij Other r.¢pec:_'{r):
My fees are $ for travel and $ for services. for a total ot`$ ()_0{]

I declare under penalty ofperjury that this information is true.

Date: ”1/*7 Zq_( 219/8 D/éV-j
___176_/\/_ _C;>@ea as __

Prinred name and r e

6¢5¢>¢> “S`- FAz/f/a~¢ BMD FZ'/B

Ser\'er 's address

fbi r/ rs t
Additional information regarding attempted service, etc: '£/L/}y V£ 597/0 7

IOF

